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7
8                          UNITED STATES BANKRUPTCY COURT
9                                    DISTRICT OF ARIZONA
                                                     Chapter: 7
10     In Re:
11                                                       Case No. 2:21-bk-04924-EPB
       HOME OPPORTUNITY, LLC,
12                                                    APPLICATION TO CONFIRM
                             Debtor.                  ABSENCE OF AUTOMATIC
13
       _________________________________________      STAY WITH RESPECT TO
14                                                    DEPOSIT ACCOUNTS HELD
       WINDOW ROCK INVESTMENT OPERATIONS, SOLELY BY APPLICANTS AT
15     LLC, a Delaware corporation; DIBS US, INC., a  WESTERN ALLIANCE BANK
16     Delaware corporation; CADI US, LLC, a Delaware PURSUANT TO 11 U.S.C. §§ 362,
       limited liability company; WRCOF ASSET TRUST BANKRUPTCY RULE 4001,
17     2017-1, a Delaware statutory trust; and CREDIT AND LOCAL RULE 4001-1
       OPPORTUNITY HOLDINGS, LLC, a Delaware
18
       limited liability company,                     OR, IN THE ALTERNATIVE,
19
                                 Applicants,  APPLICATION TO COMPEL
20
                                              TRUSTEE TO ABANDON ANY
21     v.                                     INTEREST IN DEPOSIT
                                              ACCOUNTS PURSUANT TO 11
22     HOME OPPORTUNITY, LLC, Debtor; CHAPTER U.S.C. §§ 541, 554 AND
       7 TRUSTEE, ROBERT A. MACKENZIE,        BANKRUPTCY RULE 6007
23

24                               Respondents.
                                                         Property at issue: Applicants’
25                                                       deposit accounts at Western
                                                         Alliance Bank
26
     {00560250.4 }


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1                     Window Rock Investment Operations, LLC (“WRIO”), DIBS US, Inc. (“DIBS”),
2     CADI US, LLC                (“CADI”), WRCOF Asset Trust 2017-1 (“WAT2017-1”) and Credit
3     Opportunity Holdings, LLC (“COH”) (collectively, “Applicants”) hereby apply to this Court,
4     pursuant to 11 U.S.C. §§ 105(a), 362, 541, 554(b); Bankruptcy Rule 4001, 6007; and Local
5     Rule 4001-1 and 6007-1(b)(2), for an Order confirming the absence of the automatic stay with
6     respect to five (5) bank deposit accounts (the “WR Accounts”) solely owned and maintained
7     by Applicants at Western Alliance Bank dba Alliance Bank of Arizona (the “Bank”) and the
8     funds held in the WR Accounts, because the WR Accounts and the funds therein are not
9     property of the Debtor or its estate (the “Estate”), and thus, must be immediately released by
10    the Bank to Applicants. In the alternative, Applicants request an Order compelling the Trustee
11    to abandon to Applicants any purported interest in the WR Accounts, because any such
12    interest has no benefit or value to the Estate.
13                    This Application is supported by the following Memorandum of Points and Authorities
14    and by the Declaration of Patrick Cardon (“Declaration”) attached hereto as Exhibit 1 and
15    incorporated herein by reference.
16                              MEMORANDUM OF POINTS AND AUTHORITIES
17    I.              INTRODUCTION
18                    This is a straightforward matter. The Debtor, Home Opportunity, LLC, had no legal or
19    equitable interest in the WR Accounts as of the petition date, and thus, the WR Accounts are
20    not property of the Estate pursuant to 11 U.S.C. § 541, are of no benefit or value to the Estate,
21    and are unavailable to satisfy the Estate’s creditors. As the account documents make clear, the
22    Debtor was not an owner or holder of the WR Accounts, and was not an authorized signatory
23    on the WR Accounts. Instead, the WR Accounts are individually held by the separately
24    organized non-debtor Applicant entities. Not surprisingly, the Debtor did not list the WR
25    Accounts as property of the estate in its Schedules. [Dkt. 10] So why are we here?
26


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1                     Creditor Joseph Ware, in his capacity as Independent Administrator of the Estate of
2     Evoughn Ware (“Ware”) holds a judgment (the “Judgment”) against the Debtor, not the
3     Applicants, that he obtained in Illinois state court. 1 In his pre-petition efforts to collect on that
4     Judgment, and despite evidence to the contrary, Ware represented to the Illinois state court, to
5     the Bank, and to Applicants, that he can seize the WR Accounts and the funds therein because
6     the Debtor purportedly (i) pledged the WR Accounts as collateral to secure a loan from the
7     Bank, and thus (ii) must own the WR Accounts. Ware’s premise and conclusion are both
8     categorically false. As is plainly apparent upon review of the operative loan documents that
9     Ware referenced, the Debtor never pledged the WR Accounts as collateral for the loan. Nor
10    could it, because Applicants, who are not parties to the loan, are and have always been the sole
11    owners of the WR Accounts. Nevertheless, Ware’s misrepresentations to the Illinois state
12    court and to the Bank have caused the Bank to impose an administrative hold on the WR
13    Accounts, freezing the funds therein and denying Applicants access to more than $1,000,000
14    (collectively) of Applicants’ own money. That has severely affected Applicants’ ability to
15    operate their businesses and caused ongoing harm.
16                    Applicants have explained to Ware, in detail, why Ware’s assertions regarding Debtor’s
17    purported ownership of the third-party WR Accounts are incorrect. Applicants have asked
18    Ware to withdraw the Turnover Motion so that the Bank may release its administrative hold.
19    To date, Ware has refused, insisting “this freeze will remain in place unless and until (1) the
20    stay is modified and (2) your client’s request to quash the third-party citation or my motion for
21    turnover is granted.” See Ex. L to Declaration. Of course, it is for this Court, not the Illinois
22    state court, to decide what is and is not property of the estate. See 11 U.S.C. § 541.
23                    For that reason, Applicants seek a Court order, pursuant to Local Rule 4001-1(a), (i)
24    confirming the absence of the automatic stay with respect to the WR Accounts, (ii) on the
25
      1
26      Based on the Judgment, Ware filed a $10,975,392.81 proof of claim on July 13, 2021, that he
      alleges is “secured” by “all non-exempt property of debtor.” [Claim 4-1]

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1     express grounds that the Debtor had no interest in the WR Accounts as of the petition date, and
2     thus, the WR Accounts are not property of the Estate subject to the automatic stay.
3     II.             JURISDICTION
4                     1.   The Debtor filed a voluntary Chapter 7 petition in the United States Bankruptcy
5     Court for the District of Arizona on June 24, 2021.
6                     2.   This Court has jurisdiction pursuant to 28 U.S.C. §§ 157, 1334(b), and § 2201(a).
7     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core proceeding pursuant
8     to 28 U.S.C. § 157(b)(2).
9     III.            FACTUAL BACKGROUND
10                    A.   The Applicants are separately organized entities; the Debtor does not own
                           or control the Applicants, nor do the Applicants own or control the Debtor
11

12                    3.   WRIO is a Delaware limited liability company authorized to do business and
13    doing business in Maricopa County, Arizona. (See Decl., ¶ 5) WRIO is a real estate
14    investment trust (“REIT”) which holds investments in loans secured by real estate. (Id.)
15                    4.   DIBS is a Delaware corporation authorized to do business and doing business in
16    Maricopa County, Arizona. (Id., ¶ 6) DIBS is a taxable REIT subsidiary, which holds
17    investments in real properties. (Id.)
18                    5.   CADI is a Delaware limited liability company authorized to do business and
19    doing business in Maricopa County, Arizona. (Id., ¶ 7) CADI is an investment company that
20    holds investments in private equity. (Id.)
21                    6.   WAT2017-1 is a Delaware statutory trust authorized to do business and doing
22    business in Maricopa County, Arizona. (Id., ¶ 9) WAT2017-1 is a wholly-owned subsidiary
23    of COH. (Id.) It holds investments in loans secured by real estate. (Id.)
24                    7.   COH is a Delaware limited liability company authorized to do business and
25    doing business in Maricopa County, Arizona. (Id., ¶ 8) COH is a wholly-owned subsidiary of
26    WRIO. (Id.) It holds investments in Delaware statutory trusts. (Id.)

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1                     8.    The Debtor is a Delaware limited liability company with its principal place of
2     business in Maricopa County, Arizona. (Id., ¶ 12) However:
3                           a.     None of Applicants is or has ever been a member or manager of the
4                                  Debtor. (Id., ¶ 13)
5                           b.     None of Applicants has or has ever had any ownership interest in the
6                                  Debtor. (Id., ¶ 14)
7                           c.     The Debtor is not and has never been a member or manager of any of
8                                  Applicants. (Id., ¶ 15)
9                           d.     The Debtor has no and has never had any ownership or other interest in
10                                 any of Applicants. (Id., ¶ 16)
11                    9.    The Debtor is owned by Red Rock River, LLC (“RRR”), likewise a Delaware
12    limited liability company with its principal place of business in Maricopa County, Arizona.
13    (Id., ¶ 12)
14                    10.   Applicants maintain and have deposited funds in the following five (5) separate
15    deposit bank accounts (the “WR Accounts”) at the Bank in Maricopa County, Arizona:
16                     Account Name                  Account Number     Owner
17                     WRIO Operating                8011772657         WRIO
                       DIBS Operating                8011773135         DIBS
18                     Cadi US                       8255051688         CADI
                       WAT2017-1                     8869618183         WAT2017-1
19                     Credit Opportunity Holdings   8947213155         COH
20    (Id., ¶¶ 19-24)
21                    B.    The Debtor and RRR (not Applicants) obtain a loan from the Bank.
22                    11.   On June 22, 2017, the Debtor and RRR entered into a Loan and Security
23    Agreement (the “Loan Agreement”) and signed a Promissory Note (the “Note”) in favor of the
24    Bank. (Id., ¶ 17) Pursuant to the Loan Agreement and the Note, the Bank loaned the Debtor
25    and RRR the sum of Eight Million and no/100 Dollars ($8,000,000.00) (the “Loan”). (Id.; see
26    also Decl. Ex. A (Loan Agreement) and Ex. B (Note))

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1                     12.   The Loan Agreement was between the Debtor, RRR and the Bank only. (Ex. A
2     to Decl. at 1, 33-34; Ex. B to Decl. at 7)
3                     13.   None of Applicants were parties to (or are even referenced in) the Loan, the Loan
4     Agreement, or the Note. (See Exs. A, B to Decl. generally)
5                     14.   The Loan Agreement was collateralized by certain promissory notes and
6     mortgages executed by homeowners in the Debtor’s or RRR’s favor, by deeds and other title
7     documents related to any real property owned or acquired by the Debtor or RRR, by the funds
8     in a collection account maintained by the Debtor or RRR at the Bank, and by any insurance or
9     other proceeds generated by the disposition of the promissory notes, mortgages, deeds, or real
10    property owned by the Debtor or RRR. (Ex. A to Decl. at 3, § 4.1.)
11                    15.   The Loan Agreement was not collateralized by the WR Accounts, by the funds
12    in the WR Accounts, or by any other assets belonging to Applicants, or any of them. (Id.) The
13    Loan Agreement, in Section 9.1, limited the Bank’s rights and remedies to only those accounts
14    maintained by the Debtor or RRR at the Bank. It did not provide the Bank with any right to
15    seize or attach the WR Accounts or the funds in the WR Accounts. (Id. at 3, § 9.1.)
16                    16.   The Note similarly defined the collateral for the Loan as “certain personal
17    property” of the Debtor and RRR, including “a security interest in, all monies, securities and
18    other property of [the Debtor or RRR] now or hereafter in the possession of or on deposit with
19    [the Bank]…including, without limitation, any account or deposit held jointly by [the Debtor
20    or RRR] with any other person or entity…” (Ex. B to Decl. at 4, § 13.)
21                    17.   The Note did not define “collateral” to include any of the WR Accounts or any
22    property belonging to Applicants. (Id.) The Note was not collateralized by the WR Accounts,
23    by the funds in the WR Accounts, or by any other assets belonging to Applicants, or any of
24    them. (Id.)
25                    18.   Neither the Debtor, nor RRR, nor any of Applicants pledged the WR Accounts
26    or the funds in the WR Accounts as security or collateral for the Loan. (See Ex. A, B generally)

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1                     19.   Neither the Loan Agreement nor the Note grant the Bank any security interest in
2     the WR Accounts, or identify the WR Accounts as assets of the Debtor or RRR, or state that
3     the WR Accounts have been pledged as collateral to secure the Loan. (Id.)
4                     20.   On August 5, 2019, the Debtor and RRR paid off the Loan and the Bank closed
5     the Loan account. (Decl., ¶ 18)
6                     C.    Applicants (not the Debtor) open the WR Accounts in Arizona.
7                     21.   Pursuant to the terms of the Loan Agreement, the Bank agreed to provide a
8     favorable interest rate on the Loan so long as the Debtor, RRR and their “affiliates,” as defined
9     in the Loan Agreement, maintained a combined aggregate account balance at the Bank of not
10    less than $1,000,000.00. (Ex. A to Declaration, at § 6.4.)
11                    22.   Approximately 10 months after the Loan was issued, the WR Entities opened
12    deposit accounts at the Bank. (Decl. ¶ 19)
13                    23.   On April 5, 2018, WRIO opened an analyzed business checking account
14    (account no. 8011772657) at the Bank (the “WRIO Account”). (Id., ¶ 20; Ex. C to Decl.) As
15    set forth in the account agreement, the Debtor was neither an authorized signer on the WRIO
16    Account nor an account owner or holder, and the Debtor held and holds no ownership or other
17    interest in the WRIO Account. (Ex. C to Decl.)
18                    24.   On April 5, 2018, DIBS opened an analyzed business checking account (account
19    no. 8011773135) at the Bank (the “DIBS Account”). (Id., ¶ 21; Ex. D to Decl.) As set forth in
20    the account agreement, the Debtor was neither an authorized signer on the DIBS Account nor
21    an account owner or holder, and the Debtor held and holds no ownership or other interest in
22    the DIBS Account. (Ex. D to Decl.)
23                    25.   On April 5, 2018, CADI opened an analyzed business checking account (account
24    no. 8255051688) at the Bank (the “CADI Account”). (Id., ¶ 22; Ex. E to Decl.) As set forth in
25    the account agreement, the Debtor was neither an authorized signer on the CADI Account nor
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1     an account owner or holder, and the Debtor held and holds no ownership or other interest in
2     the CADI Account. (Ex. E to Decl.)
3                     26.   On April 12, 2018, WAT2017-1 opened an analyzed business checking account
4     (account no. 8869618183) at the Bank (the “WAT2017-1 Account”). (Id., ¶ 23; Ex. F to Decl.)
5     As set forth in the account agreement, the Debtor was neither an authorized signer on the
6     WAT2017-1 Account nor an account owner or holder, and held and holds no ownership or
7     other interest in the WAT2017-1 Account. (Ex. F to Decl.)
8                     27.   On April 12, 2018, COH opened an analyzed business checking account (account
9     no. 8947213155) at the Bank (the “COH Account”). (Id., ¶ 24; Ex. G to Decl.) The Debtor
10    was neither an authorized signer on the COH Account nor an account owner or holder, and
11    held and holds no ownership or other interest in the COH Account. (Ex. G to Decl.)
12                    28.   All of the Debtor’s assets and funds have always been kept separate from, and
13    segregated from, Applicant’s funds and assets, and the Applicants have always maintained the
14    WR Accounts separately from the Debtor’s maintenance of its own bank accounts. (Decl.
15    ¶¶ 26-27)
16                    29.   Assuming Applicants are affiliates of the Debtor for purposes of the Loan
17    Agreement, had any of Applicants closed any of the WR Accounts or withdrawn funds from
18    the WR Accounts at any time, such that the combined aggregate account balance at the Bank
19    (for the Debtor, RRR and the Applicants) fell below $1,000,000.00, the Bank had no right to
20    halt the withdrawal, freeze the funds in the WR Accounts, or seize those funds for set-off
21    purposes. (Ex. A to Decl. at § 6.4) The Bank’s sole remedy, if the aggregate balance on hand
22    for the Debtor, RRR and Applicants ever dipped under $1,000,000.00 as a result of Applicants,
23    or any of them, closing or withdrawing funds from the WR Accounts, was to increase the
24    interest rate on the Note payable by the Debtor by one half of one percent (0.5%) per annum.
25    (Id.)
26


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1                     30.   The fact that the Debtor and RRR may have been able to include the WR Account
2     balances in the combined aggregate account balance at the Bank for purposes of paying a
3     favorable interest rate on the Loan did not somehow transmute those WR Accounts into the
4     Debtor’s (or RRR’s) property or make them “pledged” bank accounts.
5                     31.   Following the payoff and cancellation of the Loan in August of 2019, Applicants
6     continued to maintain the WR Accounts at the Bank. (Decl. ¶ 28)
7                     32.   Applicants maintain and use the WR Accounts as operations accounts. (Id., ¶ 29)
8     Having unobstructed access to and use of the WR Accounts and the funds therein is critical to
9     Applicants’ businesses and continuing operations. (Id.)
10                    33.   As of the date of this Motion, Applicants collectively have more than
11    $1,000,000.00 (collectively) on deposit in the WR Accounts. (Id., ¶ 30; Ex. H (Account
12    Statements) to Decl.)
13                    D.    Ware obtains judgment against the Debtor (not Applicants), and proceeds
                            to initiate collection proceedings against Applicants anyway.
14

15                    34.   Ware sued the Debtor, RRR, and three other entities in Cook County (Illinois)
16    Circuit Court (the “Circuit Court”), seeking damages for the death of his mother, Evoughn
17    Ware, who died in a house fire in October of 2016 (the “Illinois Lawsuit”). (Id., ¶ 31)
18                    35.   RRR and the three other entities were dismissed from the Illinois Lawsuit on
19    summary judgment. (Id.) The case proceeded to a jury trial against the Debtor alone. (Id.)
20    None of Applicants were parties to the Illinois Lawsuit. (Id., ¶ 32)
21                    36.   After a trial in January of 2020, Ware obtained a Judgment against the Debtor in
22    the amount of $9,689,948.18. (Id., ¶ 33)
23                    37.   On May 26, 2021, Ware filed a “Motion for Entry of Turnover Order” (the
24    “Turnover Motion”) in Cook County (Illinois) Circuit Court (the “Circuit Court”). (Id., ¶ 34;
25    see also Ex. I (the Turnover Motion) to Decl.)
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1                     38.   In the Turnover Motion, to which Ware attached copies of the Loan Agreement,
2     the Note, and copies of account statements for the WR Accounts, Ware incorrectly alleged that
3     the Debtor had pledged the WR Accounts as collateral for the Loan, and that the WR Accounts
4     were assets of the Debtor that could be attached for purposes of (partially) satisfying the
5     Judgment. (Ex. I to Decl.)
6                     39.   Specifically, Ware alleged “[i]n 2017, [Debtor] pledged 20 bank accounts at
7     [Bank] as collateral to secure an $8 million loan, executing documents evincing its ownership
8     of those accounts.” (Ex. I to Decl. at ¶ 1) Ware then repeated that allegation two pages later,
9     again averring that “[Debtor] pledged as collateral 20 bank accounts in which it had an interest
10    with an aggregate balance of over $10 million as of the fall of 2017.” (Id., ¶ 8) In support of
11    that allegation, Ware attached copies of monthly statements for the WR Accounts, which Ware
12    again misrepresented as “pledged accounts.” (Id., ¶ 9)
13                    40.   Based on the foregoing misrepresentations, Ware improperly (and incorrectly)
14    concluded, in summary fashion, that the “Pledged Accounts and their holdings are assets of
15    the judgment debtor, Home Opportunity. It could not logically pledge assets which it did not
16    own as collateral.” (Ex. I to Decl. at ¶ 13)
17                    41.   In the Turnover Motion, and based upon the foregoing misrepresentations, Ware
18    requested that the Circuit Court order the Bank to turn over (to Ware) all funds on deposit in
19    the WR Accounts in partial satisfaction of the Judgment. (Ex. I to Decl. at ¶ 15)
20                    42.   On May 26, 2021, Ware sent a copy of the Turnover Motion and a “Notice of
21    Remotely Conducted Proceedings” (the “Notice”) to the Bank, putting the Bank on notice that
22    the Turnover Motion would be presented to the Illinois state court. (Ex. J to Decl.)
23                    E.    The Bank freezes the WR Accounts based on Ware’s faulty allegations.
24                    43.   Applicants and the WR Accounts are not located in Cook County, Illinois (See
25    Decl. ¶¶ 5-9, 20-24) and are not subject to jurisdiction in Cook County, Illinois. Upon
26    information and belief, Ware has never sought to domesticate the Judgment in Arizona, where

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1     all Applicants operate, and where Applicants opened and funded the WR Accounts.
2     Nevertheless, on June 10, 2021, after receiving the Turnover Motion and Notice, the Bank
3     placed an administrative hold on all WR Accounts. (Id., ¶ 36) 2
4                     44.   As a result of the administrative hold, the WR Accounts were frozen, and
5     Applicants have been denied access to the WR Accounts or to the funds therein. (Id., ¶ 37)
6                     45.   The Bank froze the WR Accounts, purportedly based upon language in the
7     deposit account agreements for the WR Accounts, which provides as follows: “If Bank
8     receives conflicting instructions or a dispute arises as to authorization with regard to the
9     handling of the Account, you agree Bank may place a hold on the Account until such conflict
10    or dispute is resolved to Bank’s satisfaction and Bank will not be liable for dishonored items
11    as a result of such hold.” (Id., ¶ 38)
12                    46.   The Bank thus placed an administrative hold and froze the WR Accounts because
13    of Ware’s allegations in the Turnover Motion, and because Ware created a purported dispute
14    or conflict with regard to Applicants’ right to access the WR Accounts and their funds.
15                    47.   On June 30, 2021, counsel for Applicants sent counsel for Ware a letter
16    explaining that Debtor had no interest in the WR Accounts and neither the Debtor nor
17    Applicants had ever pledged the WR Accounts as collateral, as is evident on the face of the
18    Loan Agreement, Note, and Bank Statements. (Ex. K to Decl.) In that letter, counsel explained
19    that Ware’s allegations to the contrary in the Turnover Motion were false, and they requested
20    that Ware immediately withdraw the Turnover Motion. (Id.) Ware’s counsel refused to
21    withdraw the Turnover Motion or otherwise to assist in undoing the harm that he had created.
22    (Ex. L to Decl.) In doing so, he ignored the pertinent points raised by Applicants and entirely
23    failed to address the fact that the Loan Documents do not provide that Debtor pledged the WR
24

25    2
       Further, and upon information and belief, the Bank is an Arizona corporation authorized to do
26    business and doing business in in Maricopa County, Arizona. It is unclear to what extent the Bank is
      subject to jurisdiction in Cook County, Illinois either.

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1     Accounts as collateral, as Ware had misrepresented to the Illinois court and the Bank. (Id.)
2     Instead, Ware’s counsel asserted that he wanted an “explanation as to how [the Debtor] could
3     contract to maintain minimum balances in accounts which it supposedly does not own or
4     control.” (Id.)
5                     48.   As of the date of this Motion, the WR Accounts remain frozen. (Id., ¶ 40) The
6     WR Entities have been severely harmed by the Bank’s decision to place an administrative hold
7     on, and freeze the funds in, and deny the WR Entities access to the WR Accounts, and the WR
8     Entities continue to be harmed. (Id.)
9                     49.   Upon the Debtor’s bankruptcy filing, Ware’s collection action against the Debtor
10    in Illinois state court (which has no jurisdiction over Applicants), was stayed pursuant to 11
11    U.S.C. § 362.
12    V.              ARGUMENT
13                    A.    The WR Accounts are not property of the Estate.
14                    50.   Property of a bankruptcy estate is defined broadly under 11 U.S.C. § 541(a)(1)
15    as “all legal or equitable interests of the debtor in property as of the commencement of the
16    case.” In re Pettit, 217 F.3d 1072, 1077 (9th Cir.2000). While § 541(a)(1) includes all legal
17    or equitable interests of the debtor in property as of the commencement of the case as estate
18    property, state law determines the extent of such interests. Butner v. U.S., 440 U.S. 48, 99
19    S.Ct. 914 (1979). Here, the Debtor had (and has) no interest in the WR Accounts, and thus,
20    the WR Accounts and the funds therein are not property of the Estate.
21                    51.   The Debtor and Applicants are separate legal entities. None of Applicants are
22    members or managers or have any ownership interest whatsoever in the Debtor. Similarly, the
23    Debtor is not a member or manager and has no ownership interest in any of Applicants. 3
24

25    3
       The Debtor is not and has never been a member, manager, shareholder, director, officer, trustee or
26    depositor of any of Applicants. Indeed, even if it were, courts have widely held that corporate assets
      of a non-debtor entity do not become part of the bankruptcy estate of a debtor shareholder. See, e.g.,

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1                     52.   Further, each of the WR Accounts is solely owned by each respective WR
2     Entity. (Exs. C-G of Decl.) None of the WR Accounts are held or maintained by the Debtor
3     – jointly or otherwise. The Debtor never signed any account ownership documents for the WR
4     Accounts. (Id.) Although the account agreements between each Applicant and the Bank
5     expressly and specifically identify the account owner or holder, none of the account
6     agreements identify the Debtor as an owner/holder of the accounts. Instead, each Applicant is
7     listed as the sole “owner/account holder” with respect to each WR Account. Although the
8     account agreements expressly and specifically identify each “authorized signer” on each WR
9     Account, the Debtor is not listed as an authorized signatory for any of the WR Accounts. (Id.)
10    The Debtor is not mentioned or referenced in any of the WR Accounts’ bank statements. (Ex.
11    H to Decl.) The Debtor has not scheduled the WR Accounts as assets of the Estate. [Dkt. 10]
12    In short, the Debtor does not own, and has no interest in, the WR Accounts.
13                    53.   Further, and contrary to Ware’s allegations in the Turnover Motion, the Debtor
14    did not pledge the WR Accounts as collateral for the Loan. None of the Applicants were a
15    party to the Debtor’s Loan from the Bank, or to the Note, or to the Loan Agreement, and none
16    of them signed the Loan documents. (Ex. A to Decl. at 1, 33-34; Ex. B to Decl. at 7) The
17    Loan Agreement and Note do not reference the WR Accounts, much less (i) grant the Bank
18    any security interest in the WR Accounts, or (ii) provide that the WR Accounts are assets of
19    the Debtor or collateral for the Loan. (Ex. A, B. to Decl. generally)
20                    54.   Instead, as the Loan documents plainly state, the Debtor only pledged its own
21    accounts as collateral for the Loan. The only parties who could have pledged the WR Accounts
22    as collateral – Applicants – never agreed that the WR Accounts constituted or could be
23    considered security for the Debtor’s Loan obligations, and, more importantly, never agreed
24

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26    Movitz v. Todd, 24 Fed. Appx. 707, 709 (9th Cir. 2001) (debtor shareholder had no ownership of the
      property of the non-debtor corporation in which the debtor shareholder held shares).

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1     that the Debtor had an ownership interest in the WR Accounts even if they had been pledged
2     as collateral (which they were not).
3                     55.   That the Bank may have kept track of the WR Accounts to determine whether
4     the Debtor and its “affiliates” collectively kept at least $1,000,000 on hand in the Bank at all
5     times would not constitute a pledge of those accounts by the “affiliates” as collateral. Nor does
6     Applicants’ decision to open bank accounts at the Bank somehow convert the WR Accounts
7     into assets of the Debtor. The WR Accounts and the funds in the WR Accounts belong to
8     Applicants only.
9                     56.   Every day that the WR Accounts remain frozen – every day that Applicants are
10    denied access to their operating bank accounts and to the funds in those accounts - causes
11    significant and continuing harm to Applicants. Without access to the WR Accounts, they
12    cannot conduct business, or satisfy their obligations to their own debtors or investors.
13                    B.    Court should confirm that WR Accounts are not property of the Estate
14                          and thus, not subject to the automatic stay.

15                    57.   The automatic stay only applies to “property of the estate,” “property of the
16    debtor,” and acts to collect or recover claims against the debtor, or debts owed by the debtor.
17    11 U.S.C. § 362.
18                    58.   As set forth above, however, the WR Accounts are not property of the Estate,
19    and thus, the Estate has no ownership or other interest in the WR Accounts, which will
20    remain unavailable to satisfy the Estate’s creditors, including Ware.
21                    59.   Ware’s assertion (Ex. L to Decl.) that the WR Accounts must remain out of
22    Applicants’ reach “unless and until (1) the stay is modified and (2) your client’s request to
23    quash the third-party citation or my motion for turnover is granted,” is nonsensical and
24    misstates the law. Ware’s judgment is against the Debtor only. If the WR Accounts are
25    property of the Estate (and they are not), then this Court is the only venue for Ware to assert
26    his claim to those assets. See 28 U.S.C. § 1334(e). If the WR Accounts are not property of

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1     the Estate (as set forth in detail herein), then there is nothing for Ware to pursue against the
2     Applicants, who are not judgment debtors, in Illinois state court, which has no jurisdiction
3     over Applicants in any event.
4                     60.   Consequently, the Court should (i) order that the automatic stay does not apply
5     to WR Accounts, and (ii) order that the automatic stay does not prevent or restrict Bank from
6     immediately providing Applicants unobstructed access to the WR Accounts, on the grounds
7     that (iii) the WR Accounts were not property of the Debtor as of the petition date, and thus,
8     not property of the Estate.
9                     C.    Abandonment of the purported interest in the WR Accounts to Applicants
                            is appropriate.
10

11                    61.   Section 554(b) of the Bankruptcy Code provides that “on request of a party in
12    interest, and after notice and a hearing, the court may order the Trustee to abandon any property
13    of the estate that is of inconsequential value and benefit to the estate.” The WR Accounts are
14    not just of inconsequential value or benefit to the Debtor; they do not belong to the Debtor.
15                    62.   To date, Ware is the only person or entity asserting, through an accusation in the
16    Turnover Motion, that the WR Accounts are property of the Debtor. As set forth above, Ware
17    is mistaken. Ware’s assertions, however, have not only divested Applicants from access to
18    their funds, but now require a determination from this Court that the Debtor has no interest in
19    the WR Accounts. Contrary to Ware’s contention (Ex. L to Decl.) that this will somehow be
20    an issue for the Illinois state court to take up after a modification of the automatic stay, this
21    Court has, and should exercise, the jurisdiction to determine what is and what is not property
22    of the estate. See 11 U.S.C. § 541.
23                    63.   Here, the WR Accounts are not property of the estate, because they were not
24    property of the Debtor as of the petition date. For that reason, the Trustee should be compelled
25    to abandon any actual, contingent, or inchoate interest that the Estate might possibly have in
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1     the WR Accounts by virtue of Ware’s factually inaccurate accusations in his state court filings,
2     and the Bank’s subsequent freeze of the WR Accounts based on those accusations.
3                     64.   Further, the Court should order that any purported interest in the WR Accounts
4     be abandoned to Applicants, the entities with documented ownership of the WR Accounts. See
5     e.g., In re Malden Mills Indus., Inc., 303 B.R. 688, 700 (B.A.P. 1st Cir. 2004) (“Upon
6     abandonment the property reverts to the party with the possessory interest”); Matter of Popp,
7     166 B.R. 697, 700 (Bankr. D. Neb. 1993) (“abandonment should be to the party with the
8     superior possessory interest”).
9                     WHEREFORE, Applicants respectfully request that the Court enter an Order (a)
10    confirming that the automatic stay does not apply to the WR accounts because they were not
11    Debtor’s property as of the petition date, and thus, are not property of the Estate subject to the
12    stay and (b) ordering that the automatic stay does not bar the Bank from releasing the WR
13    Accounts and the funds therein to Applicants, or in the alternative, (c) compelling the Trustee
14    to abandon to Applicants any and all purported interest in the WR Accounts owned and
15    maintained by Applicants at the Bank or in the funds held in the WR Accounts, as the WR
16    Accounts are not property of the Estate.
17                    DATED this 23rd day of July, 2021.
18                                                         COPPERSMITH BROCKELMAN PLC
19
                                                           By: /s/ Marvin C. Ruth
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